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 1             6.       That Petitioner has never been denied admission to the State Bar of Nevada. (Give
 2    particulars if ever denied admission):
 3      one
 4
 5
 6             7.       That Petitioner is a member of good standing in the following Bar Associations.
 7      istrict of Columbia Bar Association, New York State Bar Association, California Bar Association
 8
 9
IO             8.       Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2
11    (formerly LR IA 10-2)   during the past three (3) years in the following matters:   (State "none" ifno applications.)

12    Date of Application                 Cause                      Title of Court                   Was Application
                                                                   Administrative Body                  Granted or
13                                                                   or Arbitrator                        Denied
14              None
15
16
17
18
19                        (If necessary, please attach a statement of additional applications)
20             9.       Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
21    State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
22    extent as a member of the State Bar of Nevada.
23             10.      Petitioner agrees to comply with the standards of professional conduct required of
24    the members of the bar of this court.
25             11.      Petitioner has disclosed in writing to the client that the applicant is not admitted to
26    practice in this jurisdiction and that the client has consented to such representation.
27
28                                                           3                                                   Rev. 5/16
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                               /s/ M. Ron Wahid

                               Jysan Holding, LLC - Managing Member




                                 /s/ J. Stephen Peek

                                1758                   speek@hollandhart.com
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           Appellate Division of the Supreme Court
                    of the State of New York
                   Third Judicial Department


     I, Robert D. Mayberger, Clerk of the Appellate Division of
the Supreme Court of the State of New York, Third Judicial
Department, do hereby certify that

                   Michael Julian Gottlieb
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on August 23, 2006,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Albany on
                            October 20, 2022.




                                 Clerk of the Court


CertID-00088490
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                                 State of New York
                         Supreme Court, Appellate Division
                            Third Judicial Department
                                 Admissions Office
                           P.O. Box 7350, Capitol Station
                              Albany, NY 12224-0350

                               AD3AdmissionsOffice@nycourts.gov
Robert D. Mayberger                                                              Anthony A. Moore
                            http://www.nycourts.gov/ad3/admissions
 Clerk of the Court                                                             Director of Attorney
                                        (518) 471-4778
                                                                                    Admissions




     To Whom It May Concern:


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


            An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


            New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


            Instructions, forms and links are available on this Court's website.




                                                      Robert D. Mayberger
                                                      Clerk of the Court


     Revised January 2022
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